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1 | RAPHAEL COTKIN, SBN 35892 ‘ CLERK, US DISTRICT. COURT |"
C. EDWARD LANGHAMMER, JR., SBN 100991
2 | COTKIN, COLLINS & GINSBURG
A PROFESSIONAL CORPORATION
3 | 300 South Grand Avenue, 24th Floor "
Los Angeles, CA 90071 -3134 CENTAAL DISTRICT OF GALIFORKI
4 || Telephone: (5133 688-9350 BY QEPU
Facsimile: (213) 688-9351
5 | Email: cel@ccglaw.ce / rxc@ccglaw.cc x Priority
6 || Attorneys for Defendant 2 Send
_._ | -HUBERT ARTURO ACEVEDO ~_— Cisd
“7 B= —— sie»
oO 38 foc UNITED STATES DISTRICT courr® sss
qo re os! ‘errr * -
@ 09 mck é CENTRAL DISTRICT OF CALIFORNIA
O io 2 |
- oo}, :
it CYNTHIA MARTINEZ, Case No. ED CV 04-1160 CAS (SGLx)
2} Plaintiff, / STIPULATION
FOR DISMISSAL WITH
13 VS. PREJUDICE AND ORDER
THEREON (FRCP Rule 41(a)(1))
14 | DEPARTMENT OF CALIFORNIA
HIGHWAY PATROL, a division of
15 || the BUSINESS, TRANSPORTATION
AND HOUSING AGENCY OF THE Complaint Filed: | September 15, 2004
16 | STATE OF CALIFORNIA, and Trial Date: November 21, 2006
4 HUBERT ARTURO ACEVEDO,
Defendants.
18
19
20 IT IS HEREBY STIPULATED by and between the parties hereto,

21 || through their undersigned attorneys of record, and subject to the Order of this
22 | Court, as follows:
23 1. The parties have reached a settlement of this action and have

24 || executed and delivered a Settlement Agreement and Mutual General Release

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2. The within action shall be dismissed with prejudice, with each

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party to bear his/her own attorneys’ fees and costs, pursuant to FRCP Rulez

41(a)(1). :
By

Craig J. Ackermann

 

Attorneys for Plaintiff
Dated: [2] ¥/ , 2006 CYNTHIA MARTINEZ

COT OLLINS & GINSBURG
A PROFE Pe RPORATION
By

T *

C. Edward Langhan} C)

hy {| Attorneys for Defendant /
Dated: , 2006 HUBERT ARTURO ACEVEDO

——$

 

 

ORDER
Based upon the Stipulation of the parties set forth herein, IT IS
ORDERED, ADJUDGED AND DECREED that this action shall be and is

dismissed with prejudice, with the parties to bear their own costs.

 

Dated: tM. IA —, 2006 Mvatinn 2
United States District Judge

 
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PROOF OF SERVICE
ey
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES or

__ I, CYNTHIA MORRIS, am employed in the aforesaid County, State of.
California; I am over the age of 18 years and not a party to the within action;;my
business address is 300 South Grand Avenue, 24th Floor, Los Angeles,
California 90071-3134.

On December 12, 2006, I served the foregoing STIPULATION FOR
DISMISSAL WITH PREJUDICE AND ORDER THEREON on the.
interested parties in this action by placing a true copy thereof, enclosed in a
sealed envelope, addressed as follows:

Craig J. Ackermann Attorneys for Plaintiff
Chaim Woolf

ACKERMANN & TILAJEF, P.C,

1180 South Beverly Drive, Suite 600

Los Angeles, CA 90035

Phone: C3 10) 277-0614

Fax: (310) 277-0635

 

X| BY FIRST CLASS MAIL: I placed such envelope for deposit in the U.S. Mail for service
by the United States Postal Service, with first-class postage thereon fully prepaid. I am readily
familiar with my employer’s practice for the collection and processing of mail. Under that
practice, envelopes would be deposited with the U.S. Postal Service that same day, with first
class postage thereon fully prepaid, in the ordinary course of business. I am aware that on
motion of the party served, service is presumed invalid if the postal cancellation date or
postage meter date is more than one day after the date of deposit for mailing shown in this
proof of service.

 

BY FACSIMILE: I caused the document to be transmitted by a facsimile machine compliant
with Rule 2003 of the California Rules of Court to the offices of the addressees at the
telephone numbers shown on the service list.

 

BY HAND DELIVERY: I caused such envelope to be delivered by hand to the offices of the
addressees.

 

BY FEDERAL EXPRESS: I am readily familiar with my employer’s practice for the
collection and processing of FedEx packages. Under that practice, packages would be
deposited with FedEx that same day, with overnight delivery charges thereon fully prepaid, in
the ordinary course of business.

 

X} (Federal Courts Only) [ declare that I am employed in the office of a member of the court at
whose direction this service was made.

 

 

 

 

J declare under penalty of perjury under the laws of the State of California
that the foregoing Is true and correct and that this document was executed on
December 12, 2006, at Los Angeles, California.

ignature or Declaran

 
